
DUCKER, JUDGE:
Claimant, David McClellan, alleges damages in the amount of $3,500.00, sustained by him in the loss and destruction of personal property located on premises operated by him and known as the' *159Fairmont Club, situate at 209 Fourth Avenue, in Montgomery, Fay-ette County, West Virginia, on October 11, 1967, as a result of the flooding by water which had been impounded in an abandoned mine and released by operations of the Department of Highways in construction work relating to West Virginia Route 61.
The facts relating to the incident of the flood are fully set forth in the case of Firestone Tire &amp; Rubber Company v. West Virginia Department of Highways, Claim No. D-227, decided by this Court on February 16, 1972, in which it was determined that the State was liable for the damages occasioned by and resulting from said flood. The only question for consideration in this claim is the amount of the damages sustained by claimant.
Counsel for both the claimant and the State have entered into and filed in this case, an agreed stipulation in writing that the total damages to the claimant’s property amounts to $1700.00, and as we see no reason to not consider such amount to be fair, we confirm the agreement and award the claimant the sum of $1700.00.
Award of $1700 00.
